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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,
                                                        CRIMINAL NUMBER:
               v.
                                                        1:18-cr-00032-2-DLF
 CONCORD MANAGEMENT AND
 CONSULTING LLC

        Defendant.


             NOTICE REGARDING EARLY RETURN TRIAL SUBPOENA

       Defendant Concord Management and Consulting LLC (“Concord” or “Defendant”),

through counsel, hereby notifies the Court that it has responded to the United States Attorney’s

Office in connection with the trial subpoena dated February 10, 2020.

Dated: February 21, 2020                          Respectfully submitted,

                                                  CONCORD MANAGEMENT AND
                                                  CONSULTING LLC

                                                  By Counsel

                                                   /s/ Eric A. Dubelier
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